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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 20-60627-CIV-ALTMAN/Hunt

  LAMAR JACKSON,

        Plaintiff,
  v.

  AMAZON.COM, INC., et al.,

        Defendants.
  _________________________________/

                                              ORDER

        THIS MATTER comes before the Court on the parties’ Joint Notice of Settlement [ECF

  No. 20]. The Court hereby ORDERS AND ADJUDGES as follows:

        1. The above-styled action is administratively CLOSED without prejudice to the parties

            to file a stipulation of dismissal on or before June 26, 2020.

        2. If the parties fail to complete the expected settlement, any party may ask the Court to

            reopen the case.

        3. All pending deadlines and hearings are TERMINATED, and any pending motions are

            DENIED AS MOOT.

        DONE AND ORDERED in Fort Lauderdale, Florida this 29th day of May 2020.




                                                      _________________________________
                                                      ROY K. ALTMAN
                                                      UNITED STATES DISTRICT JUDGE
  cc:   counsel of record
